
December 13.
The PRESIDENT
delivered the opinion of the Court.*
This in an action of Assumpsit by the Appellee against the Appellant, as the Committee of a lunatic, appointed by *the Chancellor for goods, &amp;c. furnished as necessaries for the support of the lunatic, and for the preservation of her property, before the appointment of the Appellant, and when the lunatic was incapable of making any contract. The error in bringing this action was, in not distinguishing it from an action against the committee of a lunatic appointed under the Statute, in a case in which the lunatic is sent to the Hospital and is treated by the Statute as civiliter mortuus, and the -committee' as an Executor, and responsible in like manner. 1 Rev. Co. ch. 109, § 6, p. 413. A committee appointed by the Chancellor, .as in this case, is a mere Commissioner of the Court, managing the person and estate of the lunatic, under the direction of the Chancellor, and having such allowances for the support of the lunatic as may be considered proper, accounting for the management of the estate as a receiver of the Court, removable iri its discretion, and is not liable to be sued on claims either against the lunatic or his estate, as in the case of a committee appointed under the Statute. A suit might have been brought against the lunatic herself for any debt incurred before the committee was appointed, and after Judgment her person might have been taken in execution, as in the case of any other debtor. During her lunacy she was incapable of making any contract, and was only liable to be sued for necessaries, though no Execution could issue against her estate, that being under the control of the Chancellor; but the Chancellor, either before or after Judgment, may direct the debt to be paid out of her estate. 13 Vessey, 590, Annonymous, and Maddock’s Ch. title “Idiot and Lunatic.”
The Judgment is therefore to be reversed.

 Absent, Judge Coulter.

